                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  UNITED STATES OF AMERICA,                       )
                                                  )
                        Plaintiff,                )
                                                  )
  v.                                              )           No. 3:21-CR-126-KAC-DCP
                                                  )
  JUAN LOPEZ GALLARDO,                            )
  JOSEDAD DELACRUZ, &                             )
  SERGUIN CASTRO-CARIAS,                          )
                                                  )
                        Defendants.               )

                                            ORDER

         All pretrial motions in this case have been referred to the Magistrate Judge pursuant to 28

  U.S.C. § 636(b) for disposition or recommendation. Defendants Juan Lopez Gallardo [Doc. 139]

  and Josedad Delacruz [Doc. 140] move to extend the October 3, 2022 plea deadline in this case.

  Defendant Gallardo, who is detained in London, Kentucky, seeks a short continuance of the plea

  deadline to give counsel time to meet with him to review the proposed plea agreement. Counsel

  states he received the proposed agreement on Friday, September 30, 2022, and cannot meet with

  Defendant by the October 3 plea deadline. Counsel for Defendant Delacruz anticipates receiving

  a proposed plea agreement on October 10, 2022, and asks for an extension to October 24, 2022, to

  review the agreement with his client, who is also detained in London Kentucky. Both motions

  state that the Government does not oppose the requested extension. The Court finds Defendants

  have shown good cause for a brief extension of the plea deadline. The motions [Docs. 139 & 140]

  are GRANTED, and the deadline for all Defendants to file a plea agreement in the record is

  extended to OCTOBER 24, 2022.

         IT IS SO ORDERED.
                                                      ENTER:

                                                      __________________________
                                                      Debra C. Poplin
                                                      United States Magistrate Judge
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